Case 18-35295   Doc 17-3 Filed 06/04/19 Entered 06/04/19 19:10:11   Desc Exhibit
                       3 - Limited Withdrawal Page 1 of 3




                              EXHIBIT 3




                                      1
        Case 18-35295        Doc 17-3 Filed 06/04/19 Entered 06/04/19 19:10:11                 Desc Exhibit
                                    3 - Limited Withdrawal Page 2 of 3

Fro m : Christopher Rya n
Sent: W ed nesday, October 31 , 20 18 11:28 AM
To : Jessica Fairchild
Cc : William Haas
Sub j ect: Re : ca ll today

Jessica ,
Please accept this ema il as my statement for William Haas et al, that we are withdrawing our letter
terminating the patent license, for the purpose of fac ilitating the sale . This withdrawal is made under the
express agreement that it be without prejudice to the right to raise these issues in the future . If you require
anything further, please advise .

Christopher P. Ryan
The Law Office of Christopher P. Ryan
245 NE Perry Avenue
Peoria , IL 61603
(309)637-8020 {phone}
(309)637-5433 {fax}
cpryanlaw.com {website}




From: Jessica Fairchild <jessica@fairchildlawoffices.com>
Sent: Tu esday, October 30, 2018 11 :20 AM
To : Christopher Ryan
Subject: Re : call today

Chris - We need withdrawal letter today. Auction will be tomorrow.




Jessica B. Fairchild
Fairchild Law Offices, LLC
Phone {847) 574-7857
Mobile (773) 454-8018
Email jessica@fairchildlawoffices.com



On Oct 30 , 2018 , at 10 :53 AM, Christopher Ryan <cpryan@cpryanlaw.com> wrote :



      Jessica,
      Just got out from meeting another client, after a very hectic last week. Have you forgotten the
      call I made where we indicated we were in broad agreement with the last proposal? We will
      w ithdraw the letter of termination, without prejudice to raise those issues later. I have been
      advised that possibly two bids are in, both of which reportedly are less than half of the current
      debt level of 1.9 million. Do you have any information that the auction will do better?
  Case 18-35295                Doc 17-3 Filed 06/04/19 Entered 06/04/19 19:10:11                             Desc Exhibit
                                      3 - Limited Withdrawal Page 3 of 3
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 on " ~a le of () rnllllun, or le~', 011ly If mu11.wll y ngreed to .
 I am nol '.Jim' what we .ire 1Jlnwl11g up, given the above.
 My a~sl:,tan t Ir. out tills we ek, IJ11l I will h;i vc th<.! w lthdrn wiJ I lctt,~r to you M onday. What else cJo
 you need at this point , uspccl.i lly In view              ot the    dl5rn;:i l prc llrnlnil ry re sults?


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  lhc la w Off'irn of Chrl~toriher I'. 11ynn
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 (~09 )637 8070 {phone )
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 Fro m: l(•!,,~ lc;i l·alrcl ,lltl <Jc:i:Jcilt'!!l [ilJL<Jl.lliJ.Jaw_oJfl~.~ >
 Sent: ·1uv~ tla y, October 30, 2018 9 :10:14 AM
 To : Clirb topl H! r' Hya11
 Subject : L.tli locJ;iy


 Cllrl~ - I'm highly &,ilppolntcd you have not returned any of my calls o r em ails over the last
 wc•ek. l'rn 11ut sure w hi.lt g.Jm e you are playlnc, but It' s tim e for us to speak on the phone. Please
 let me kno w w hc1l time I Ciln reac h you today and please be availa ble for that call.

 I can assure you that the other mem bers of VitaHEAT will not look kindly on you and M r. Ha as
 when It comes to possibly blowinc up il deal to se ll the company, particularly after having signed
 a term sheet to move forw ard with severa l steps that you are now Ignoring in tota l.

 You can expect a letter from m e responding to and refuting in all respects t he term ination letter
 th.it w.:is se nt severa l w ee ks ago .


Jessica




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